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 6                             IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8    UNITED STATES OF AMERICA,                 )        Case №:2:08-cr-0093 KJM
                                                )        Case №:2:08-cr-0116 KJM
 9                    Plaintiff,                )
                                                                     ORDER
10        vs.                                   )               APPOINTING COUNSEL
      CHARLES HEAD,                             )
11                                              )
                      Defendant.                )
12                                              )
                                                )
13                                              )
14
15          This court relieved Scott Tedmon as counsel of record at the conclusion of the sentencing
16   hearing on September 3, 2014. CJA Appeal Panel attorney Barry L. Morris is hereby appointed
17   for the appeal effective September 16, 2014, the date the Office of the Federal Defender first
18   contacted him.
19   DATED: 9/16/2014
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                                                UNITED STATES DISTRICT JUDGE
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     ORDER APPOINTING COUNSEL                        1
